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                                 CERTIFICATE OF SERVICE

         I hereby certify that on July 9, 2020, I caused a true and correct copy of the Answer,

  Affirmative Defenses and Cross-Claims of Third-Party Defendants Northeast Brokerage

  Inc. and Michael Costello to the Third-Party Complaint by JJK 2016 Insurance Trust and

  Michael Lerner, as Trustee to the JJK 2016 Insurance Trust, to be served on all counsel of

  record via the Court’s electronic filing and notification system.


                                                     LYDECKER DIAZ
                                                     Attorneys for Third-Party Defendants
                                                     Northeast Brokerage Inc. and Michael
                                                     Costello

                                              By:    /s/ Joseph Ross
                                                     Robert J. Pariser, Esq.
                                                     Joseph Ross, Esq.

  Dated: July 9, 2020




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